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   LUTHER GRAHAM,                      UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY
                          Plaintiff,
                                       DOCKET NO. 16-1578(PGS)(LHG)
                   v.                  CIVIL ACTION

   MONMOUTH COUNTY BUILDINGS AND
   GROUNDS, DAVID KRYZANOWSKI, MOTION RETURNABLE:               DECEMBER
   ROBERT W. COMPTON, and CRAIG 2, 2019
   BELL,

                     Defendants


    BRIEF OF DEFENDANTS MONMOUTH COUNTY BUILDINGS AND GROUNDS, DAVID
    KRYZANOWSKI, AND ROBERT W. COMPTON IN SUPPORT OF MONMOUTH COUNTY
    BUILDINGS AND GROUNDS AND ROBERT W. COMPTON’S CROSS MOTION FOR
    SUMMARY JUDGMENT




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                            PRELIMINARY STATEMENT

        On March 19, 2018, this Court granted summary judgment to

   Defendants    Monmouth   County   Buildings    and     Grounds    (“County”),

   Robert   W.   Compton    (“Mr.    Compton”),     and    David    Krzyzanowski

   (collectively    “Defendants”),     dismissing    the    vast    majority   of

   Plaintiff’s complaint. ECF No. 56.          On September 5, 2019, this

   Court ordered that Plaintiff be permitted to engage in supplemental

   discovery related to the only remaining issues in this matter,

   i.e. retaliation and retaliatory hostile work environment under

   Counts I (§ 1981) and III (Title VII), specifically as to the Crew

   Supervisor Building Maintenance Worker position (“Crew Supervisor

   Position”). ECF No. 112.

        Indeed, the only reason this Court initially denied summary

   judgment as to the Crew Supervisor Position was because:

        “Defendants only justified not hiring Plaintiff because
        they interviewed a better candidate. Parties did not
        provide evidence that the individual that was hired was
        more or less qualified. Therefore, the Court does not
        have sufficient information to make a determination of
        whether this constituted a retaliatory or hostile
        action.”

   ECF No. 56, P. 18.

        Defendants move again for summary judgment as to the Crew

   Supervisor Position because the supplemental discovery conducted

   proves that Robert Briscoe (“Mr. Briscoe”), the individual hired

   for the Crew Supervisor Position, was the most qualified applicant

   out of twelve, including Plaintiff.

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                                     LEGAL ARGUMENT

   I.        DEFENDANTS DID NOT RETALIATE AGAINST PLAINTIFF.

        A.     APPLICABLE LEGAL STANDARD FOR RETALIATION.

             To survive summary judgment for retaliation, plaintiff must

   demonstrate that he:

             1. Was engaged in a protected activity;
             2. Suffered an adverse employment decision; and
             3. There was a causal connection between the two.

   Cardenas v. Massey, 269 F.3d 251, 263 (3d Cir. 2001) (holding same

   legal standard applies to retaliation/hostile work environment

   claims under § 1981 (Count I) and Title VII (Count III)).                    Indeed,

   Plaintiff must demonstrate that his protected activity was the

   “but for” cause of the adverse action taken against him. Blakney

   v. City of Philadelphia, 559 F.Appx 183 (3d Cir. 2014). In limited

   situations,       close      temporal   proximity         between    the   protected

   activity and an adverse employment decision may be sufficient to

   establish a causal link. Woodson v. Scott Paper Co., 109 F.3d 913,

   920 (3d Cir.), cert. denied, 522 U.S. 914 (1997). In the absence

   of close temporal proximity, a causal connection may be established

   where there is evidence that “the employer engaged in a pattern of

   antagonism in the intervening period.” Id. at 920–21, citing

   Robinson v. SEPTA, 982 F.2d 892, 894 (3d Cir.1993).

             If Plaintiff meets the three prong test, the McDonnell Douglas

   analysis      shifts   the    burden    to       the   Defendants,   who   must   then

   “articulate       a    legitimate,      non-retaliatory         reason      for   the

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   decision.” McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802

   (1973). See also Jalil v. Avdel Corp., 873 F.2d 701, 706–07 (3d

   Cir. 1989) (McDonnell Douglas burden-shifting analysis applies to

   both §1981 and Title VII retaliation claims.). Defendants may then

   rebut    the   discriminatory   presumption   by   showing    there   was   a

   “legitimate, nondiscriminatory reason” why the employer preferred

   another    employee.   McDonnell   Douglas,   at   802.      If   Defendants

   successfully rebut the discriminatory presumption, then the burden

   shifts back to Plaintiff, who must show that the reasons proffered

   by Defendants are pretextual. Id. at 804. To prove that a proffered

   reason is a pretext for discrimination, the plaintiff must show

   “both that the reason was false, and that discrimination was the

   real reason.”     St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502, 515

   (1993).

     B.      THERE IS NO CAUSAL CONNECTION BETWEEN PLAINTIFF’S PROTECTED
             ACTIVITY AND HIS INABILITY TO OBTAIN THE CREW SUPERVISOR
             POSITION.

             1. Plaintiff was less qualified for the Crew Supervisor
                Position than Mr. Briscoe.

           Plaintiff was not hired for the Crew Supervisor Position

   because Mr. Briscoe, the hire, was more qualified.            Statement of

   Facts, ¶¶7,8, and 9.     Plaintiff has not produced any evidence that

   shows his protected activity was why he did not obtain the Crew




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   Supervisor Position.1             Importantly, every incident alleged by

   Plaintiff to have been retaliatory or hostile was dismissed by

   this court. ECF No. 56.

         Indeed, the only reason this Court initially denied summary

   judgment as to the Crew Supervisor Position was because:

         “Defendants only justified not hiring Plaintiff because
         they interviewed a better candidate. Parties did not
         provide evidence that the individual that was hired was
         more or less qualified. Therefore, the Court does not
         have sufficient information to make a determination of
         whether this constituted a retaliatory or hostile
         action.”

   ECF No. 56, P. 18.

         Now, the supplemental discovery conducted proves that Mr.

   Briscoe was the most qualified applicant out of twelve, including

   Plaintiff.     Statement of Facts, ¶¶7, 8,and 9. Specifically, the

   evidence     shows       that    Mr.         Compton     interviewed        twelve    (12)

   individuals        who    applied      for    the      Crew    Supervisor       Position,

   including     Plaintiff         Luther   Graham.        Id.,       ¶7.   The    interview

   consisted of 21 questions with percentages of importance. Id.

   Interview     questions         were     related        to     required        experience,

   analytical,        teamwork,     leadership,        customer        service,      business

   success,     and     administrative/clerical.                Id.     Each      applicant’s

   response to the questions was scored on a scale of 0-3. Id.                           The




   1 For purposes of this motion only, Defendants assume that Plaintiff engaged in
   protected activity.

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   score was noted on each applicant’s interview score sheet during

   the interview at the completion of each question. Id.

         Based on the scores from the 12 interviews, Mr. Briscoe scored

   a 2.47, and was far and away the best candidate, beating the second

   candidate Kevin Baxter who scored 1.9. Id., ¶8. Importantly, Mr.

   Briscoe, unlike Plaintiff, had experience in the Building Services

   promotional title. Id., ¶¶6 and 8.       He further had supervisory and

   management experience from his prior career. Id., ¶8.                Also, Mr.

   Briscoe consistently was able to provide real world examples of

   how he responded to certain situations he was asked about in the

   interview. Id.

         Mr. Graham received a score of 1.0 and ranked 10/12. Id., ¶9.

   Mr. Graham did not have the required two (2) years of experience.

   Id.   When explaining his experience to Mr. Compton, Mr. Graham

   stated    his   experience   consisted   of   (1)   cleaning   his    area   in

   college; (2) helping his mother clean; (3) knowing how to dust;

   and (4) prior to college, supervising a volunteer group that

   vacuumed buildings.     Id.    Indeed, Mr. Graham’s responses did not

   qualify for two (2) years of experience in facilities management.

   Id.   Contrary to Mr. Briscoe, Mr. Graham consistently was unable

   to provide real world examples of how he responded to certain

   situations he was asked about in the interview. Id.

            Mr. Graham did not present any evidence as to how he is more

   qualified for the Crew Supervisor Position than Mr. Briscoe and

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   provided   no   proof     linking   the       denial   of    the    Crew    Supervisor

   Position to his prior complaints to the County Human Resources

   Department (“HR”).

         In light of the undisputed evidence related to Mr. Briscoe’s

   superior qualifications, Plaintiff’s lack thereof for the Crew

   Supervisor Position, and the complete lack of evidence linking

   denial   of   the   Crew   Supervisor         Position      to   Plaintiff’s    prior

   complaints to HR, summary judgment dismissing the remainder of

   Plaintiff’s complaint with prejudice is required.

            2. There is no temporal proximity between Plaintiff’s
               protected activity and his failure to obtain the Crew
               Supervisor Position.

         Here, temporal proximity does not show a causal connection

   because Plaintiff has not presented any supplemental evidence of

   retaliatory     motive,    which    is    required     for       temporal   proximity

   greater than 10 days. Blakney, supra.                  Indeed, nearly 5 months

   passed between October 1, 2015, Plaintiff’s last complaint filed

   with HR, and March 8, 2016, the posting of the Crew Supervisor

   Position. Statement of Facts, ¶¶3 and 5.                 Accordingly, Plaintiff

   cannot show any causal connection based on temporal proximity.

            3. Plaintiff cannot establish any “pattern of antagonism.”

         Plaintiff cannot establish a “pattern of antagonism” during

   the intervening period between his complaints and when he was not

   selected for the Crew Supervisor Position. Woodson at 920–21,

   citing Robinson at 894.        Specifically, nothing adverse took place

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   between Plaintiff’s October 1, 2015 complaint to HR and the March

   8, 2016 Crew Supervisor Position posting. Accordingly, Plaintiff

   cannot show any causal connection based on a pattern of antagonism.

         C. PLAINTIFF WAS NOT QUALIFIED FOR THE CREW SUPERVISOR
            POSITION, AND THEREFORE COULD NOT BE RETALIATED AGAINST AS
            A MATTER OF LAW.

         The   Crew   Supervisor    Position     is   a   Civil   Service   title.

   Statement of Facts, ¶5. Per the New Jersey Department of Personnel

   job description, the successful applicant is required to have “two

   (2) years of experience in work involving the inspection, cleaning

   and general maintenance of offices, furniture and buildings.” Id.

   Mr. Graham did not have the required two (2) years of experience,

   explained supra. Id., ¶9.

         Because Plaintiff did not have the requisite qualifications

   under the Civil Service regulations, he was ineligible for the

   Crew Supervisor Position.         Accordingly, his inability to obtain

   the position cannot constitute retaliation as a matter of law.

         D. THE DEFENDANTS HAD A LEGITIMATE NON-DISCRIMINATORY REASON
            FOR NOT HIRING PLAINTIFF AS CREW SUPERVISOR.

         Assuming arguendo that the Court determines that Plaintiff’s

   claims are not barred pursuant to the arguments presented above,

   Plaintiff’s    claims    of     retaliation    fail     nonetheless      because

   Defendants have met their burden of showing a legitimate non-

   discriminatory reason for not hiring Plaintiff as Crew Supervisor.

   McDonnell Douglas, at 802.         Specifically, as discussed above and


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   incorporated herein, Plaintiff was less qualified for the Crew

   Supervisor Position than Mr. Briscoe. Statement of Facts, ¶¶7,8,

   and 9.

           E. PLAINTIFF CANNOT ESTABLISH PRETEXT FOR DISCRIMINATION.

           Since         Defendants    can          articulate     legitimate,        non-

   discriminatory reasons for promoting Mr. Briscoe over Plaintiff,

   the presumption of discrimination drops from the case.                     Hicks, 509

   U.S. at 507-508.          Plaintiff now bears the burden of demonstrating

   that     the    proffered      reason   is   really       pretext   for   intentional

   discrimination.          McDonnell Douglas, at 802.

           In     this    case,    Plaintiff    has     no    evidence   to    meet   his

   evidentiary burden.            Plaintiff cannot demonstrate that the stated

   reasons for promoting Mr. Briscoe over Plaintiff are false or are

   pretext, both of which are required to prove Plaintiff’s claim.

   Hicks, 509 U.S. at 515.                 Accordingly, Plaintiff’s retaliation

   claims must be dismissed.

      II.       THERE WAS NO RETALIATORY HOSTILE WORK ENVIRONMENT.

      A.        APPLICABLE LEGAL STANDARD FOR RETALIATORY HOSTILE WORK
                ENVIRONMENT

           A prima facie case of hostile work environment requires

   Plaintiff to establish the following:

           (1)  Plaintiff   suffered  intentional   discrimination
           because of his/her protected activity;
           (2) The discrimination was severe or pervasive;
           (3) The discrimination detrimentally affected him or
           her;


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           (4) The discrimination would have detrimentally affected
           a reasonable person in like circumstances; and
           (5) A basis for employer liability is present.

   Jensen v. Potter, 435 F.3d 444, 450 (3d. Cir. 2006). In assessing

   whether    conduct      is    severe    or   pervasive,       courts   consider    the

   totality of the circumstances, including the “frequency of the

   discriminatory conduct; its severity; whether it is physically

   threatening or humiliating, or a mere offensive utterance; and

   whether    it    unreasonably        interferes        with   the   employee’s     work

   performance.” Harris v. Forklift Sys., Inc., 510 U.S. 17, 23

   (1993). However, in considering the totality of the circumstances,

   courts filter out “simple teasing, offhand comments, and isolated

   incidents.” Faragher v. City of Boca Raton, 524 U.S. 775, 788

   (1998).

      B.     PLAINTIFF CANNOT ESTABLISH A PRIMA                        FACIE   CASE    OF
             RETALIATORY HOSTILE WORK ENVIRONMENT.

           Plaintiff cannot establish a prima facie case of retaliatory

   hostile work environment because there is no evidence in the record

   that     Plaintiff   was      denied     the     Crew    Supervisor    Position     as

   retaliation for his complaints, discussed supra. Also, Plaintiff

   cannot    show   that    he    was     subject    to    any   severe   or   pervasive

   discrimination because his only remaining contention is that he

   was passed over for 1 promotional position. Indeed, Plaintiff must

   show a pattern of conduct that took place in all but the most

   extreme of circumstances. Meritor Sav. Bank v. Vinson, 477 U.S. 57


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   (1986); Taylor v. Metzger, 152 N.J. 490 (1998). Here, there is no

   pattern of conduct.        Accordingly, the Court must dismiss this

   remaining aspect of Plaintiff’s complaint.

   III. DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT SINCE THE
        UNDISPUTED FACTS ESTABLISH THAT THEY ARE ENTITLED TO JUDGMENT
        AS A MATTER OF LAW

         The standard for granting a summary judgment motion is well

   established and is governed by the trilogy of Anderson v. Liberty

   Lobby, Inc., 477 U.S. 242 (1986), Celotex Corp. v. Catrett, 477

   U.S. 317 (1986), and Matsushita Elec. Indus. Co. v. Zenith Radio

   Corp., 475 U.S. 574 (1986). A party is entitled to summary judgment

   when there is no genuine issue of material fact and the evidence

   establishes that the party is entitled to judgment as a matter of

   law. Fed. R. Civ. P. 56(c). Where the evidence overwhelmingly

   points in one direction, the Court should not hesitate to grant

   summary judgment. See, e.g., Anderson, supra, at 252 (A properly

   supported motion for summary judgment cannot be defeated by a mere

   scintilla of evidence in favor of the nonmoving party.).              Where

   the moving party does not bear the burden of persuasion at trial,

   the analysis under Fed. R. Civ. P. 56(c) is slightly altered. In

   such a case, the moving party’s burden is simply to point to the

   absence of evidence to support the nonmoving party’s case. Brewer

   v. Quaker State Refining Corp., 72 F.3d 326, 329-330 (3d. Cir.

   1995), citing Celotex, supra, at 322-323. The moving party meets

   its burden by showing that the nonmoving party’s evidence is

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   insufficient for it to prevail at trial. Id. In order to survive

   summary judgment, the nonmoving party must provide evidence that

   a reasonable jury could return a verdict in its favor. In essence,

   it is “essentially ‘put up or shut up’ time for the nonmoving

   party: the nonmoving party must rebut the motion with facts in the

   record and cannot rest solely on assertions made in the pleadings,

   legal memoranda, or oral argument.” Berckeley Inv. Group, Ltd. v.

   Colkitt, 455 F.3d 195, 201 (3d Cir. 2006).

         In the present matter, no genuine issues of material facts

   exist that enable Plaintiff to prove any of his alleged remaining

   causes of action against the Defendants.          Accordingly, the Court

   should grant summary judgment in favor of Defendants and dismiss

   the remaining counts in Plaintiff’s Complaint with prejudice.




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                                   CONCLUSION

         For all the foregoing reasons, it is respectfully submitted

   that the Court should grant summary judgment to Defendants Monmouth

   County Buildings and Grounds and Robert W. Compton.

                                             KENNEY, GROSS, KOVATS & PARTON


                                             /s/ Daniel R. Roberts
                                      By:    DANIEL R. ROBERTS


                                             CLEARY     GIACOBBE       ALFIERI
                                             JACOBS, LLC

                                      By:    /s/   Micci J. Weiss
                                                   MICCI J. WEISS




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